                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 JUAN HERNANDEZ and ROSENDO                      )
 HERNANDEZ,                                      )
                                                 )          No. 1:23-cv-1737
              Plaintiffs,                        )
                                                 )          Hon. Jeremy C. Daniel
              v.                                 )
                                                 )          Magistrate Heather K. McShain
 REYNALDO GUEVARA, et al.,                       )
                                                 )
              Defendants.                        )          JURY TRIAL DEMANDED


                                   JOINT STATUS REPORT

       Pursuant to this Court’s order, ECF No. 142, the undersigned parties provide the below

update on outstanding discovery issues they intend to raise at the upcoming status hearing on

December 12, 2024:

       I.      Motion to Compel Production of Documents

       1.      Plaintiffs filed a motion to compel production of documents on September 6, 2024.

Dkt. 121.

       2.      The parties appeared before this Court to discuss the document production issues

on September 10, 2024. Dkt. 124.

       3.      On September 12, 2024, Plaintiffs sent a letter to Defendant City of Chicago (“the

City”) identifying outstanding documents and asking the City to either produce those documents

or confirm that it possessed no further responsive documents.

       4.      On October 4, 2024, the City made a supplemental production of 156 pages of

records, including (82) pages of the criminal histories of (11) individuals, and PCP, NDI, and BIS

documents for (2) identified officers.
         5.    On October 7, 2024, the City made a supplemental production of 73 pages of

records, including the 1996 and 1997 Retention Schedules and the 1997 Department Directives

Index.

         6.    On October 8, 2024, this Court continued the motion to compel and ordered the

parties to submit a joint status report outlining the remaining outstanding documents, which the

parties did. Dkt. 138.

         7.    On October 18, 2024, the City made a supplemental production of 4 pages of

records containing a floor plan of 25th District in 1993; a no response record for camera footage; a

no response record from OEMC; and a no response record for (4) identified officers.

         8.    On October 21, 2024, the City made a supplemental production of pages of records

including (5) CRs and Klipfel documents.

         9.    On October 23, 2024, the City made a supplemental production of 1,208 pages of

records containing files for (4) CRs.

         10.   On October 24, 2024, another hearing was held wherein the parties updated the

Court on the status of document production. Dkt. 142.

         11.   The Court then scheduled a status hearing for December 12, 2024 to give Defendant

City sufficient time to produce all of the remaining documents and to give Plaintiffs several weeks

to review and make sure everything had been produced. Id.

         12.   On October 31, 2024, the City made a supplemental production of 28 pages of

documents including the criminal histories of (3) individuals.

         13.   On review, Plaintiffs believe certain pages to be missing from the production and

followed up with the City three separate times—Oct. 31, Nov. 12, and Nov. 20—requesting the

production be corrected and asking for clarification on when the remaining outstanding documents



                                                 2
would be produced so Plaintiffs could plan their review prior to the December 12 hearing date.

The City never responded nor did it correct the production because it is currently seeking

confirmation from the CPD the timeframe when the log page use ceased in lieu of the computer

files.

         14.       On November 14, 2024, this Court held another motion hearing wherein the City

represented that it continues to produce as it represented to the Court at the October 24, 2024

hearing. Dkt. 153.

         15.       On November 25, 2024, the City produced 28 pages of records, including the

criminal history of (3) individuals.

         16.       On December 4, 2024, the City produced 740 pages of records, including (1) 680-

page CR file; (3) IR jackets for (3) individuals; and both Plaintiffs’ arrest reports.

         17.       On today’s date, December 5, 2024, the City produced 689 pages of records,

including (1) CR file.

         18.       As of filing, the following documents, and/or confirmation that the City possesses

no further documentation, are still outstanding:

               •   Investigation of misconduct (First Request Nos. 10, 26): (1) CR (Miedzianowski)
                   remains outstanding and that is the 8,000-page CR that is expected to be produced
                   in the next couple of days upon completion of redactions.

               •   Criminal records (including IR jackets) of identified individuals (First Request
                   Nos. 17-20): Plaintiffs request the City produce all outstanding documents,
                   including those raised in Plaintiffs’ Oct. 31, Nov. 12, and Nov. 20 emails about the
                   City’s production. The City is currently investigating the time frame for requested
                   logs (as identified above). The parties are also still conferring on identifying the
                   remaining individuals.

               •   Personnel files (First Request No. 27): There are no outstanding documents. CPD
                   cannot locate the personnel files of Defendant DeGraff and Defendant
                   Miedzianowski. Plaintiffs request the City produce a no-records response.



                                                    3
              •   Any documentation from the crime lab related to this case: Plaintiffs request
                  the City confirm that it has no further responsive documents. The City is
                  confirming that all responsive documents that have been located have been
                  produced.

       II.        Document Subpoena

       19.        The parties are currently conferring on a subpoena Plaintiffs intend to issue to

Federal Correctional Institution – Pekin concerning records pertaining to incarcerated Defendant

Joseph Miedzianowski.

       20.        Should the parties become at impasse, Plaintiffs will seek Court intervention.

       III.       Motion to Hold in Contempt

       21.        Plaintiffs anticipate filing a motion to hold Juan Carlos Cruz in contempt and to

compel him to appear for his deposition by writ of body attachment on file by Friday, December

13, 2024.

       22.        Defendants’ position is that they do not believe Mr. Cruz, the victim of a shooting,

should be held in contempt. While Mr. Cruz did leave his prior deposition, he has at this point

shown up twice pursuant to subpoena for his deposition. Defendants’ position is that the parties

should jointly seek to have the Court assist by ordering Mr. Cruz to appear for his deposition for

a date/time certain at the courthouse with the Judge available for any issues that may arise.



                                             RESPECTFULLY SUBMITTED,


 /s/ Alyssa Martinez                         /s/ Krystal Gonzalez
 Attorney for Plaintiffs                     Attorney for Reynaldo Guevara

 Jonathan I. Loevy                           Timothy P. Scahill
 Steven E. Art                               Steven B. Borkan
 Anand Swaminathan                           Misha Itchhaporia
 Sean Starr                                  Graham P. Miller
                                             Emily E. Schnidt

                                                   4
Alyssa Martinez                   Whitney N. Hutchinson
Quinn Rallins                     Molly Boekeloo
                                  Krystal Gonzalez
Loevy & Loevy
311 North Aberdeen St,            Borkan & Scahill, Ltd
Chicago, IL 60607                 20 S. Clark Street, Suite 1700
(312)243-5900                     Chicago, IL 60603
alyssa@loevy.com                  (312)580-1030
                                  kgonzalez@borkanscahill.com

/s/ Eileen Rosen                  /s/ Allison Romelfanger
Attorney for City of Chicago      Attorney for Defendants Geri Yanow, as Special
                                  Representative of Ernest Halvorsen, deceased,
Eileen E. Rosen                   and Robert DeGraff, deceased, Robert Biebel,
Catherine Barber                  and Joel Bemis
Theresa Carney
Kelly Krauchun                    James G. Sotos
Austin Rahe                       Josh M. Engquist
Andrew Grill                      Jeffrey R. Kivetz
Jessica Zehner                    Allison L. Romelfanger
Lauren Ferrise                    Kyle T. Christie

Rock Fusco & Connelly, LLC        THE SOTOS LAW FIRM, P.C.
333 W. Wacker Drive, 19th Floor   141 W. Jackson Blvd, Suite 1240A
Chicago, IL 60606                 Chicago, IL 60604
(312) 494-1000                    P: (630) 735-3300
erosen@rfclaw.com                 aromelfanger@jsotoslaw.com

/s/ Brian Gainer
Attorney for Joseph
Miedzianowski

Brian P. Gainer
Lisa M. McElroy

Johnson & Bell, Ltd
33 W. Monroe, Suite 2700
Chicago, IL 60603
312-372-0770
gainerb@jbltd.com




                                       5
                               CERTIFICATE OF SERVICE

       I, Alyssa Martinez, an attorney, certify that on December 5, 2024, I caused the foregoing

document to be filed using the Court’s CM/ECF System which affected service upon all counsel

of record.

                                                   /s/ Alyssa Martinez
                                                   One of Plaintiffs’ Attorneys




                                               6
